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 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   RALPH COLEMAN, et al.,                   No. CIV. S-90-520 LKK/DAD (PC)
12                  Plaintiffs,
13          v.                                ORDER
14   EDMUND G. BROWN, JR., et al.,
15                  Defendants.
16

17          Plaintiffs    have   filed      two   requests   to   seal     documents

18   pursuant to Local Rule 141.            See ECF Nos. 4838 and 4847.1       Good

19   cause appearing, plaintiffs’ requests will be granted.

20          In accordance with the above, IT IS HEREBY ORDERED that:

21          1.    The    Clerk   of   the    Court    is   directed   to   maintain

22   Appendices A and B to the Supplemental Declaration of Edward

23   Kaufman, M.D. in Support of Plaintiffs’ Motion for Enforcement of

24   Court Order and Affirmative Relief Related to Use of Force and

25   Disciplinary Measures (ECF No. 4825) under seal until further

26   order of court; and

27

28   1
         ECF No. 4847 supplants ECF No. 4826.
                                        1
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 1         2.    The Clerk of the Court is directed to maintain the
 2   Confidential    Declaration     of   Thomas   Nolan    and   the     exhibits
 3   attached thereto which were tendered to the court on September
 4   27, 2013 under seal until further order of court.
 5         IT IS SO ORDERED.
 6         DATED:   October 1, 2013.
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